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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                                               X
                                                                           STIPULATION OF
SHAWN PATTERSON, et al.,                                              SETTLEMENT AND ORDER OF
                                                                              DISMISSAL
                                                 Plaintiffs,
                                                                              I   :   l0-cv-023 I -KAM-RER
                        -against-
                                                                      AND TWO CONSOLIDATED
THE CITY OF NEW YORK, et al.,                                         ACTIONS:
                                             Defendants.
                                                                      1:   l0-CV-4755-RJD
                                                                      and
                                                                      1:11-CV-5066-RRM-LB



                \ryHEREAS, plaintiffs Shawn Patterson, Sundra Franks, Steven Daniels,

Benjamin Nelson, Derek Franks and Rayshawn Lawrence commenced the action captioned

Shawn Patterson. et al.    v. The City of New York. et al, l0-cv-0231-KAM-RER by filing                       a


complaint on or about January 20,2010 alleging that the defendants violated plaintiffs' federal

civil rights;and


                WHEREAS, plaintiffs Karon Gordon, Rayshawn Lawrence and Leo Felder

commenced the action captioned Karon Gordon. et al                 v. The City of NeW York. et al., 10-cv-

4755-RJD by flrling a complaint on or about October 15, 2010 alleging that the defendants

violated plaintiffs' federal civil rights; and


                WHEREAS, plaintiffs Rayshawn Lawrence and Leo Felder commenced                               the

action captioned Ra)¡shawn Lawrence. et al v. The City of New York. et al, 1l-cv-5066-RRM-

LB by filing a complaint on or about October 18,2011 alleging that the defendants violated

plaintiffs' federal civil rights; and

                WHEREAS, defendants have denied any and all liability arising out of plaintiffs'

allegations in three above-captioned actions; an
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                 WHEREAS, plaintiffs Shawn Patterson, Sundra Franks, Steven Daniels           and

Benjamin Nelson, and defendants previously resolved the issues raised as between them in the

action captioned Shawn Patterson. et al. v. The Cit)¡ of New Yotk. et al,l0-cv-0231-KAM-RER

without further proceedings and without defendants admitting any fault or liability, and entered

into a Stipulation and Order of Dismissal on or about June 24,2011; and

                \ryHEREAS, the remaining plaintifß in the action captioned Shawn Patterson. et

al. v. The City of New York. et al, 10-Iv-0231-KAM-RER, Rayshawn Lawrence and Derek

Franks, and defendants now desire to resolve the issues raised in this litigation as between them,

without further proceedings and without defendants admitting any fault or liability; and

                \ryHEREAS, the parties in the matter captioned Karon Gordon. et al v. The City

of New York. et al.,l0-cv-4755-RJD now desire to resolve the issues raised in that litigation   as

between them, without further proceedings and without defendants admitting any fault or

liability;and

                \ryHEREAS, the parties in the matter captioned Rayshawn Lawrence. et al v. The

Cit)¡ of New York. et al, 1l-cv-5066-RRM-LB now desire to resolve the issues raised in that

litigation as between them, without further proceedings and without defendants admitting any

fault or liability; and

                WHEREAS' plaintiffs Rayshawn Lawrence and Derek Franks have authorized

their counsel to settle the matter captioned Shawn Patterson. et al. v. The City of New York. et

al, l0-cv-0231-KAM-RER on the terms set forth below; and

                WHEREAS, plaintiffs Rayshawn Lawrence, Karon Gordon and Leo Felder have

authorized their counsel to settle the matter captioned Karon Gordon. et al v. The City of New

York. et al.. l0-cv-4755-RJD on the terms set forth below; and




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                WHEREAS, plaintiffs Rayshawn Lawrence and Leo Felder have authorizedtheir

counsel to settle the matter captioned Rayshawn Lawrence. et al v. The City of New York. et al,

11-cv-5066-RRM-LB on the terms set forth below;

                NOW, THEREFORE,              IT IS HEREBY STIPULATED AND                  AGREED,      bY

and between the undersigned, as follows:

                1.     The above-referenced actions are hereby dismissed against defendants,

with prejudice, and without costs, expenses, or attorneys' fees in excess of the amount specified

in paragraph   "2" below.

                2.     Defendant The City          of New York hereby agrees to pay            Rayshawn

Lawrence the sum of Twenty Five Thousand ($25,000) Dollars and Derek Franks the sum of

Twenty Five Thousand ($25,000) Dollars in full satisfaction of all claims, including claims for

costs, expenses and attorneys' fees, in the action captioned Shawn Patterson. et al. v. The Cit)¡       of

New York. et al, 10-Iv-0231-KAM-RER. The City of New York hereby agrees to                            pay

Rayshawn Lawrence the sum          of Thirty Thousand ($30,000) Dollars, Karon Gordon the sum of

Thirty Five Thousand ($35,000) Dollars, and Leo Felder the sum of Twenty Thousand ($20,000)

Dollars in full satisfaction of all claims, including claims forcosts, expenses and attorneys'fees,

in the action captioned Karon Gordon- et al v.             Citv of New York. et al.. l0-cv-4755-RJD.

Defendant The City of New York hereby agrees to pay Rayshawn Lawrence the sum of Thirty

Thousand (535,000) Dollars and Leo Felder the sum of Twenty Thousand ($25,000) Dollars, in

full satisfaction of all claims, including claims for costs, expenses and attorneys' fees, in the

action captioned Ravshawn Lawrence- et al v- The Citv of New York. et al. 1l-cv-5066-RRM-

LB. In consideration for the payment of these       sums, plaintiffs agree to the dismissal of all claims

against the defendants and to release the defendants, and any present or former employees and

agents   of The City of New York or any entity represented by the Office of the Corporation

Counsel, from any and       all liability, claims, or rights of action alleging a violation of plaintiffs'

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civil rights, from the beginning of the world to the date of the General Release, including claims

for costs, expenses, and attorneys' fees, except for any claims by Derek Franks arising from his

arrests on October 27,2009, January 9,2010 andNovember          8,2010.

                3.     Plaintiffs shall execute and deliver to defendant The City of New York's

attorney   all documents necessary to effect this settlement, including, without limitation,           a

General Release based on the terms of paragraph 2 above and an Affidavit of Status of Liens.          If
Medicare has provided payment and/or benefits for any injury or condition that is the subject of

this lawsuit, prior to tendering the requisite documents to effect this settlement, plaintifß shall

have notified Medicare and shall submit with the settlement documents a Medicare final demand

letter for conditional payments.    A Medicare Set-Aside Trust may also be required if            future

anticipated medical costs are found to be necessary pursuant to 42 U.S.C. $ 1395y(b) and 42

C.F.R. $$ 411.22 through 411.26.

                4.     Nothing contained herein shall be deemed to be an admission by the

defendants that they have   in any manner or way violated plaintifß' rights, or the rights of       any

other person or entity, as defined in the constitutions, statutes, ordinances, rules or regulations   of
the United States, the State of New York, or The City of New York or any other rules,

regulations or bylaws    of any department or subdivision of The City of New York.                 This

stipulation shall not be admissible in, nor is     it related to, any other   litigation or settlement

negotiations.

                5.     Nothing contained herein shall be deemed to constitute     a   policy or practice

of the City of New York or any agency thereof.

                6.     Plaintiffs agree to hold harmless the defendants regarding any liens or past

and/or future Medicare payments, presently known or unknown, in connection with this matter.

If conditional and/or future anticipated   Medicare payments have not been satisfied, defendants



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reserve the right to issue a multiparty settlement check naming Medicare as a payee or to issue a

check to Medicare directly based upon Medicare's final demand letter.

                  7.      This Stipulation and Order contains all the terms and conditions agreed

upon by the parties hereto, and no oral agreement entered into at any time nor any written

agreement entered into prior to the execution of this Stipulation and Order regarding the subject

matter of the instant proceeding shall be deemed to exist, or to bind the parties hereto, or to vary

the terms and conditions contained herein.


Dated: New York, New York
          July   _,2012
Leventhal & Klein                                      MICHAEL A. CARDOZO
Attorneysfor Plaintffi                                 Corporation Counsel of the
45 Main        Suite 230                                 City of New York
            ew York I l20l                             Attorney for Defendants
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By:                                                    WITTICK, GEORGE BOAN, JAMES
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                                                       BUCKLEY, VINCENT ORSINI, DENNIS
                                                       MOONEY, SALVATORE BELLOMO,
                                                       MICHAEL LOPRESTI, JOHN
                                                       MCNAMEE, ANDREW KINSELLA,
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